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       EXHIBIT C
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                                                    Jon Salomon                                       Dentons Bingham Greenebaum LLP
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                                                                                                                            dentons.com




 March 20, 2025

 Via Electronic Mail

 Matthew R. Palmer-Ball, Esq.
 Wyatt, Tarrant & Combs, LLP
 400 West Market Street, Suite 200
 Louisville, KY 40202-2898
 mpalmerball@wyattfirm.com

 Re:       Bingham v. Ky. Found. for Women, Inc., No. 3:24-CV-211-CRS (W.D. Ky.)


 Dear Matt:

 I am writing in response to your email correspondence of March 17, 2025, which suggests for the first
 time – nearly a year after our filing of the above lawsuit – that Dentons has “an irreparable conflict of
 interest” in representing Sallie Bingham in connection with her pending claims against the Kentucky
 Foundation for Women, Inc. (“KFW”) for breach of contract, promissory estoppel, unjust enrichment and
 an accounting. It does not appear coincidental that your email arrived on the heels of the Court’s orders
 dismissing in large part KFW’s purported counterclaims against Ms. Bingham – and further ordering KFW
 to finally participate in a Rule 26(f) conference, which just last week you agreed to schedule for this
 coming Wednesday, March 26, 2025 at 2:00 p.m.

 In short, we disagree vehemently with the unfounded allegations set forth in your email – and after
 consulting with our firm’s General Counsel, stand by our initial conclusion that there is no conflict of
 interest under the Kentucky Rules of Professional Conduct that precludes our firm from representing Ms.
 Bingham in connection with her pending claims against KFW, or requires us to obtain KFW’s consent.

 Contrary to your suggestion, we are not aware that any of our firm’s lawyers have offered legal advice to
 KFW in connection with the limited matters involved in the pending lawsuit. Instead, Brent Baughman
 (and other lawyers who departed our firm years ago) consulted in the past with KFW on unrelated
 employment law issues – at which time there was never any apparent conflict of interest between our
 firm’s separate representations of Ms. Bingham and KFW. Indeed, we understood that KFW had
 engaged the Husch Blackwell firm in St. Louis to advise it separately in connection with the matters
 mentioned in your email.

 Early last year, when KFW’s current Executive Director, Sharon LaRue, attempted to raise with Mr.
 Baughman certain statements allegedly made by Ms. Bingham, Mr. Baughman informed Ms. LaRue that
 he could not offer related advice to KFW. As you are aware, on March 18, 2024, Mr. Baughman then
 notified Ms. LaRue in writing that “we are not representing the Foundation in any current matter, and we
 have no agreements regarding the performance the performance of any future legal services, and that
 “[g]iven these circumstances, we are terminating our attorney-client relationship with the Foundation,

 Puyat Jacinto & Santos ► Link Legal ► Zaanouni Law Firm & Associates ► LuatViet ► For more information on the firms that have come
 together to form Dentons, go to dentons.com/legacyfirms
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 effective immediately.” Mr. Baughman further indicated that, “[w]e do not believe that this termination will
 prejudice the Foundation.” We received no objection from KFW.

 In light of these circumstances, our firm plainly had no attorney-client relationship with KFW at the time it
 filed the pending lawsuit on behalf of Ms. Bingham, or at any time thereafter – and there can be no
 concurrent conflict of interest pursuant to SCR 3.130(1.7) or SCR 3.130(1.8).

 Moreover, SCR 3.130(1.9) simply is not implicated on the present facts. Neither Mr. Baughman nor any
 other lawyer at our firm formerly represented KFW in connection with “the same or a substantially related
 matter” – and in any event, Mr. Baughman is not participating in the pending lawsuit. SCR 3.130(1.9)(a).

 In addition, SCR 3.130(1.9)(c) requires only that subject to certain exceptions, our firm’s lawyers may not
 use information relating to our past representation of KFW to its disadvantage or reveal information
 relating to the past representation. Your email does not suggest that any such information has been used
 or revealed here – and I can assure you that the lawyers participating in the pending lawsuit are not
 aware of any information acquired during our firm’s previous consultations with KFW – much less any
 material information protected by SCR 3.130 (1.6) or SCR 3.130 (1.9(c)).

 Put simply, there is no merit to your untimely accusation of “an irreparable conflict of interest for Dentons
 in this case,” which instead appears to have been interposed solely in furtherance of KFW’s continuing
 efforts to delay discovery in connection with Ms. Bingham’s claims notwithstanding the Court’s clear
 directive to the contrary. Indeed, throughout the course of the pending lawsuit, your client has at all times
 been aware of its unrelated past consultations with our firm. As a result, not only are KFW’s allegations
 of an “irreparable conflict” meritless, but they have also long been waived. See, e.g., Osborn v. Griffin,
 No. 2011-89, 2012 WL 12924812, **8-9 (E.D. Ky. Aug. 23, 2012) (citing In re Valley-Vulcan Mold Co., 5
 Fed. Appx. 396, 401 (6th Cir. 2001)).

 Please let us know as soon as possible if you no longer intend to make yourself available for our
 scheduled Rule 26(f) conference next week.




                                                             Sincerely,



                                                             Jon Salomon

 JS:
